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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY

                                                          :
    N.V.E., INC.,                                         :   Civil Action No. 06-5455-MCA-AME
                                        Plaintiffs,       :
                                                          :               ORDER
                             v.                           :
                                                          :
    JESUS J. PALMERONI, et al.,                           :
                                                          :
                                      Defendants.         :
                                                          :

           THIS MATTER having come before the Court by way of Plaintiff N.V.E., Inc.’s

   letter filed on October 28, 2021 [D.E. 778], the parties’ joint letter filed on November 9, 2021

   [D.E. 780], and Defendant Jesus Palmeroni’s letter filed on November 9, 2021 [D.E. 781],

   each addressing the parties’ positions on various unresolved pretrial matters; and the Court

   having held a status conference on November 12, 2021, to discuss those pretrial issues with

   the parties; and it

           APPEARING that the District Court has scheduled trial in this matter for December

   7, 2021; and it further

           APPEARING that certain evidentiary and other issues must be resolved before trial;

   and it further

           APPEARING that in a letter filed on November 16, 2021 [D.E. 782], Plaintiff

   advised the Court that one such issue has been resolved because Richard Horowitz and Carlos

   Bengoa are willing to appear in person at the trial and Plaintiff therefore withdraws its request

   for the Court to review the transcripts of the de bene esse depositions of Mr. Horowitz and

   Mr. Bengoa; and for good cause shown,

           IT IS on this 17th day of November 2021,



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            ORDERED that Plaintiff shall prepare proposed redactions of the transcript of the

  deposition of Defendant Vincent Rosarbo (the “Rosarbo Transcript”) which it seeks to admit at

  trial, as set forth in D.E. 778; and it is further

            ORDERED that a hearing is scheduled for November 29, 2021, at 9:30 a.m., in person,

  in Courtroom 2D of the Martin Luther King, Jr., U.S. Courthouse in Newark, to address the

  proposed redactions to the Rosarbo Transcript and other pretrial matters; and it is further

            ORDERED that, before November 29, 2021, the parties shall meet and confer about

  Plaintiff’s proposed redactions to the Rosarbo Transcript and reach agreement about as many of

  the proposed redactions as possible. The parties shall be prepared to explain to the Court at the

  hearing on November 29, 2021 the process and outcome of their meet and confer efforts; and it is

  further

            ORDERED that, as soon as practicable but no later than 2:00 p.m. on November 26,

  2021, Plaintiff shall file on CM/ECF under a cover letter not to exceed three pages, a copy of the

  Rosarbo Transcript and all proposed redactions, together with copies of any Order or other

  authority Plaintiff asserts limits the scope of permissible trial testimony and justifies the

  redactions Plaintiff seeks; and it is further

            ORDERED that a settlement conference is scheduled for November 23, 2021, at 1:30

  p.m., in person, in Courtroom 2D of the Martin Luther King, Jr., U.S. Courthouse, in Newark.

  All parties with final settlement authority must attend. No later than noon on November 19,

  2021, the parties shall email confidential settlement statements (not to exceed eight double-

  spaced pages) to the Court at AME_Orders@njd.uscourts.gov.

                                                       /s/ André M Espinosa
                                                       ANDRÉ M. ESPINOSA
                                                       United States Magistrate Judge




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